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 1                       UNITED STATES DISTRICT COURT

 2                   CENTRAL DISTRICT COURT OF CALIFORNIA

 3                     (WESTERN DIVISION - LOS ANGELES)

 4

 5      THE HONORABLE CONSUELO B. MARSHALL, UNITED STATES DISTRICT

 6                               JUDGE PRESIDING

 7

 8    GLOBEFILL INCORPORATED,            )
                                         )
 9              PLAINTIFF,               )   CASE NO.:
                                         )   CV10-2034-CBM-PLA
10       VS.                             )
                                         )
11    ELEMENTS SPIRITS, INC,             )
      ET AL,                             )    (11:16 A.M.)
12                                       )
                DEFENDANT.               )
13                                       )

14

15             MOTION OF LAW FIRM OF ALVARADO SMITH TO WITHDRAW

16                    AS COUNSEL FOR DEFENDANT KIM BRANDI

17                           LOS ANGELES, CALIFORNIA
                                  AUGUST 6, 2012
18

19
     DEPUTY CLERK:                           JOSEPH M. LEVARIO
20

21
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23

24
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 1

 2   APPEARANCES

 3

 4   FOR THE PLAINTIFF:

 5             NO APPEARANCE

 6

 7

 8   FOR THE DEFENDANT:

 9
               ALVARADO SMITH APC
10             BY: ROBERT ANTONIO RIVAS
               1 MACARTHUR PLACE, SUITE 200
11
               SANTA ANA, CA 92707
               (714) 852-6800
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 1              LOS ANGELES, CALIFORNIA, MONDAY, AUGUST 6, 2012

 2

 3               THE CLERK:   ITEM NUMBER FIVE, CV 10-2034, GLOBEFILL

 4   VERSUS ELEMENTS SPIRITS.

 5               STATE APPEARANCES, PLEASE.

 6               MR. RIVAS:   GOOD MORNING, YOUR HONOR, ROBERT RIVAS OF

 7   ALVARADO SMITH ON BEHALF OF DEFENDANT KIM BRANDI.

 8               THE COURT:   GOOD MORNING.    AND LET ME JUST ASK

 9   MR. LEVARIO WHAT NUMBER ON THE CALENDAR IS THIS ONE?

10               THE CLERK:   NUMBER FIVE.

11               THE COURT:   NUMBER FIVE.    WELL, THE MATTER IS SET ON

12   THE CALENDAR FOR A MOTION TO WITHDRAW AS COUNSEL FOR THE

13   DEFENDANT KIM BRANDI, AND THE COURT HAS NOT SIGNED THE FORM YET

14   BECAUSE I DON'T WANT TO LEAVE THE DEFENDANT WITHOUT

15   REPRESENTATION.    THE COURT UNDERSTANDS THAT THE COMPANY IS

16   REPRESENTED BY COUNSEL, BUT THIS DEFENDANT IS PRESIDENT OF THE

17   COMPANY?

18               MR. RIVAS:   NO, SHE IS NO LONGER HAVE ANY INVOLVEMENT

19   WITH THE COMPANY IN ANY CAPACITY EXCEPT FOR ARGUABLY A

20   SHAREHOLDER.

21               THE COURT:   NO LONGER ASSOCIATED WITH THE COMPANY.

22               MR. RIVAS:   NO, SHE'S NOT AN EMPLOYEE, SHE'S NOT AN

23   AGENT, SHE'S NOT A DIRECTOR, SHE'S NOT AN OFFICER.

24               THE COURT:   OKAY.   BUT SHE DID HOLD ONE OF THOSE OR

25   DID SERVE IN ONE OF THOSE CAPACITIES AT THE TIME THAT THE


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 1   LAWSUIT WAS FILED?

 2              MR. RIVAS:    YES, YOUR HONOR, ABOUT TWO YEARS AGO.

 3              THE COURT:    WELL, I DON'T WANT TO LEAVE HER WITHOUT

 4   REPRESENTATION, SO DO YOU KNOW WHAT HER PLANS ARE, IS IT TO TRY

 5   TO OBTAIN COUNSEL?

 6              MR. RIVAS:    HER PLANS ARE -- INTERESTINGLY ENOUGH,

 7   YOUR HONOR, I REPRESENT HER.      SHE'S THE PRESIDENT OF ANOTHER

 8   CLIENT OF MINE AND I'M IN CONTACT WITH HER EVERY DAY.          SHE'S

 9   DEVELOPING OTHER LIQUOR BRANDS.       AND HER PLANS ARE TO

10   SUBSTITUTE IN AN ATTORNEY IN SAN DIEGO THAT'S BEEN REPRESENTING

11   HER IN RELATED LITIGATION MATTERS AND IS HER PERSONAL LAWYER.

12   HIS NAME IS JOHN, I BELIEVE IT'S JOHN MARSHALL.         I CAN'T

13   REMEMBER CORRECTLY THE NAME BUT HE'S IN SAN DIEGO.

14              THE COURT:    AND WHEN DOES SHE EXPECT THAT HE WILL

15   SEEK TO SUBSTITUTE IN?

16              MR. RIVAS:    SOMETIME -- SHE'S STILL NEGOTIATING WITH

17   HIM, IS MY UNDERSTANDING, THE TERMS OF THE ENGAGEMENT, SO I

18   WOULD SAY WITHIN A MONTH, MONTH AND A HALF.         SHE'S CURRENTLY

19   TRAVELING ALL OVER THE UNITED STATES AND ASIA.

20              THE COURT:    WELL, I WILL CONTINUE THE MOTION UNTIL A

21   DATE THAT COUNSEL FEELS WILL GIVE HER SUFFICIENT TIME TO MAKE

22   THE ARRANGEMENTS WITH COUNSEL IN SAN DIEGO.         IF SHE DOES RETAIN

23   THAT COUNSEL, THEN YOU MAY WITHDRAW THE MOTION AND SIMPLY

24   PREPARE A SUBSTITUTION OF ATTORNEY FORM.

25              MR. RIVAS:    OKAY.


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 1              THE COURT:    WHICH THAT ATTORNEY WOULD SIGN AND YOU

 2   WOULD SIGN.

 3              IF SHE DOES NOT RETAIN COUNSEL TO REPRESENT HER BY

 4   THE DATE THAT I'LL CONTINUE THIS MATTER ON THE CALENDAR, THEN

 5   COUNSEL WILL HAVE TO APPEAR AND SHE WILL ALSO HAVE TO APPEAR.

 6              MR. RIVAS:    THAT'S FINE, YOUR HONOR.

 7              THE COURT:    SO LET'S SELECT A DATE THAT WE THINK WILL

 8   WORK FOR EVERYONE.

 9              IN THE MEANTIME, I DON'T KNOW IF THERE'S ANYTHING

10   PENDING ON THE CASE.

11              MR. RIVAS:    JUST YOUR ORDER ON THE -- I BELIEVE THE

12   MOTION FOR PRELIMINARY INJUNCTION OF GLOBEFILL.

13              THE COURT:    THAT'S RIGHT.     I WAS GOING TO SAY COUNSEL

14   WERE HERE LAST WEEK.

15              MR. RIVAS:    CORRECT.

16              THE COURT:    AND THE COURT WILL BE ISSUING A RULING ON

17   THE PRELIMINARY INJUNCTION, BUT AT THAT POINT ONCE THAT RULING

18   IS ISSUED THEN THERE IS NOTHING ELSE PENDING PRESENTLY.

19              MR. RIVAS:    JUST THE SCHEDULING CONFERENCE ORDER, I

20   BELIEVE.

21              THE COURT:     AND DID I ISSUE DATES LAST WEEK WHEN THE

22   PARTIES WERE HERE?      DID WE HOLD THE CONFERENCE OR NOT?

23              MR. RIVAS:     I BELIEVE WE GOT AN EMAIL NOTIFICATION OF

24   THE ORDER OF WHEN THE SCHEDULING CONFERENCE IS TAKING PLACE.

25              THE COURT:     IT HAS A DATE.    AND DO WE KNOW WHAT DATE


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 1   THAT IS?   BECAUSE I WOULD WANT HER REPRESENTED BY THAT TIME --

 2              MR. RIVAS:    CORRECT.    AND THAT'S UNDERSTANDABLE, YOUR

 3   HONOR.

 4              THE COURT:    -- SO THAT SOMETHING COULD BE FILED ON

 5   HER BEHALF, SO WE SHOULD PROBABLY NOT CONTINUE IT BEYOND THAT

 6   DATE.

 7              MR. RIVAS:    THAT'S UNDERSTANDABLE.

 8              THE CLERK:    THE COMPUTERS ARE DOWN.

 9              THE COURT:    OKAY, OUR COMPUTERS ARE DOWN SO I'M NOT

10   ABLE TO -- I DON'T KNOW WHAT DATE THAT IS.        SO HOW MUCH TIME

11   WOULD COUNSEL SUGGEST YOU BE GIVEN TO COMMUNICATE WITH YOUR

12   CLIENT AND TO HAVE HER COMMUNICATE WITH THE COUNSEL THAT SHE

13   HOPES WILL BE SUBSTITUTING IN THE CASE?

14              MR. RIVAS:    I WOULD SAY -- SEPTEMBER IS A REALLY BUSY

15   MONTH FOR ME, I'M ABOUT TO BE IN SAN FRANCISCO AND NEW YORK.            I

16   WOULD SAY MID-SEPTEMBER TOWARD THE END OF MAYBE THE WEEK OF THE

17   16TH OR 18TH.

18              THE COURT:    I'LL ASK MR. LEVARIO TO GIVE US A MONDAY.

19              THE CLERK:    THE 17TH, YOUR HONOR.

20              THE COURT:    SEPTEMBER 17TH.

21              MR. RIVAS:    THAT'S FINE, YOUR HONOR.      I BELIEVE -- I

22   JUST -- IT'S HARD FOR ME, I'M INVOLVED IN A MASSIVE

23   EMBEZZLEMENT CASE UP IN SAN FRANCISCO AND WE'VE BEEN ORDERED

24   AND HAULED INTO DEPOSITIONS EVERY WEEK.        SO IF ANYTHING CHANGES

25   I'LL LET THE COURT KNOW.      IT'S HARD FOR ME TO KEEP TRACK OF THE


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 1   DEPOSITION SCHEDULE IN THAT CASE.

 2                THE COURT:   SO SEPTEMBER 17TH, AND SHOULD WE SET IT

 3   FOR 10:00 A.M.?

 4                THE CLERK:   10:00 A.M.

 5                THE COURT:   AT 10:00 A.M.   SO THAT -- THE COURT HAS

 6   CONTINUED THE MOTION TO WITHDRAW AS COUNSEL TO THAT DATE.           WHAT

 7   I'M HOPING WILL OCCUR IS A SUBSTITUTION OF ATTORNEY FORM CAN BE

 8   USED AND THEN IT WOULD NOT BE NECESSARY FOR YOU TO APPEAR

 9   AGAIN.   WHAT I DON'T KNOW AT THIS POINT IS WHETHER THE

10   SCHEDULING CONFERENCE IS PRIOR TO THAT DATE.

11                MR. RIVAS:   OKAY.

12                THE COURT:   IF IT IS, THEN YOU SHOULD --

13                MR. RIVAS:   WE'LL PROBABLY JUST -- YES.

14                THE COURT:   -- MAKE ARRANGEMENTS TO HAVE SOMEBODY

15   PARTICIPATE --

16                MR. RIVAS:   I WILL, YOUR HONOR.

17                THE COURT:   -- FOR PURPOSES OF PREPARING THE REPORT.

18                MR. RIVAS:   I WILL, YOUR HONOR.

19                THE COURT:   SO THAT SHE CAN BE REPRESENTED.

20                MR. RIVAS:   I WILL, YOUR HONOR.

21                THE COURT:   SO CONTINUED TO SEPTEMBER 17TH AT

22   10:00 A.M.

23                MR. RIVAS:   ANY INDICATION OF WHEN THE RULING WILL BE

24   COMING DOWN ON THE INJUNCTION?

25                THE COURT:   NO, BUT I HOPE SOON.


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 1              MR. RIVAS:    OKAY.   THANK YOU, YOUR HONOR.      HAVE A

 2   GREAT MORNING.

 3              THE COURT:    THANK YOU.

 4                         (CONCLUSION OF RECORDED PROCEEDING.)

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 3

 4                                       CERTIFICATE

 5

 6              I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT

 7   FROM THE ELECTRONIC SOUND RECORDING OF THE PROCEEDINGS IN THE

 8   ABOVE ENTITLED MATTER.

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13                                                     8/11/12
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